Case 2:04-cr-80335-GER-VMM ECF No. 470, PageID.3376 Filed 01/31/17 Page 1 of 3




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

              Plaintiff,
                                                 Case No. 04-80335
 v.                                              Hon. Gerald E. Rosen

 ROBERT KEATHLEY,

           Defendant.
 _________________________________/

                    ORDER DENYING DEFENDANT’S
                MOTION TO SET ASIDE MONEY JUDGMENT

                              At a session of said Court, held in
                           the U.S. Courthouse, Detroit, Michigan
                           on          January 31, 2017

                     PRESENT:          Honorable Gerald E. Rosen
                                       United States District Judge

       Through the present pro se motion, Defendant Robert Keathley requests

 pursuant to Fed. R. Civ. P. 60(b)(4) that the Court set aside a $1 million money

 judgment entered against him on February 14, 2007. In support of this motion,

 Defendant contends that he lacked notice and an opportunity to be heard as to the

 entry of this judgment, and that the Court lacked the legal authority to enter this

 judgment. In addition, while the money judgment in question was entered many

 years ago and has never before been challenged, Defendant notes that a motion
Case 2:04-cr-80335-GER-VMM ECF No. 470, PageID.3377 Filed 01/31/17 Page 2 of 3




 under Rule 60(b)(4) for relief from a void judgment is not subject to a strict time

 limit, but instead must be brought “within a reasonable time.” Fed. R. Civ. P.

 60(c)(1).

       The Court readily concludes that Defendant has failed to identify a basis for

 relief from the February 14, 2007 money judgment. As the Government correctly

 points out in response to Defendant’s motion, Defendant’s claim of lack of notice

 prior to the entry of this judgment is wholly without merit. Rather, the $1 million

 judgment was expressly disclosed on the record at Defendant’s June 26, 2006 plea

 hearing, (see Gov’t Response, Ex. 4, 6/26/2006 Plea Hearing Tr. at 10), and

 Defendant explicitly agreed to the entry of this judgment when he signed his Rule

 11 plea agreement, (see Gov’t Response, Ex. 5, Rule 11 Plea Agreement at 5, 18).

 Faced with this evidence, Defendant has abandoned his claim of lack of notice in

 his reply brief in support of the present motion.

       This leaves only Defendant’s contention that the money judgment against

 him should be set aside as entered without the proper legal authority. Yet, even

 assuming this is so,1 the law is clear that a judgment is not “void” within the


       1
        This is an extremely dubious proposition, given that the two cases relied upon by
 Defendant in support of his motion both were reversed on appeal. See United States v.
 Day, 416 F. Supp.2d 79 (D.D.C. 2006), rev’d in relevant part, 524 F.3d 1361 (D.C. Cir.
 2008); United States v. Croce, 334 F. Supp.2d 781 (E.D. Pa. 2004), rev’d, 209 F. App’x
 208 (3d Cir. Dec. 22, 2006). While Defendant identifies additional cases in his reply

                                             2
Case 2:04-cr-80335-GER-VMM ECF No. 470, PageID.3378 Filed 01/31/17 Page 3 of 3




 meaning of Rule 60(b)(4) simply because “it is or may have been erroneous.”

 Northridge Church v. Charter Township of Plymouth, 647 F.3d 606, 611 (6th Cir.

 2011) (internal quotation marks and citations omitted). As explained by the Sixth

 Circuit, “the fact that a . . . judgment may violate a federal statute . . . does not

 render the judgment ‘void’ under Rule 60(b)(4).” Northridge Church, 647 F.3d at

 611-12. Accordingly, whatever the merit of Defendant’s contention that the

 money judgment against him was entered in violation of the law, Rule 60(b)(4)

 does not provide an avenue for relief from this purportedly erroneous judgment.

        Accordingly,

        NOW, THEREFORE, IT IS HEREBY ORDERED that Defendant’s motion

 to set aside money judgment (docket #424) is DENIED.

                                           s/Gerald E. Rosen
                                           United States District Judge

 Dated: January 31, 2017

 I hereby certify that a copy of the foregoing document was served upon the parties
 and/or counsel of record on January 31, 2017, by electronic and/or ordinary mail.

                      s/Julie Owens
                      Case Manager, (313) 234-5135



 brief that purportedly call into question the Court’s authority to enter a money judgment
 against him, none of the cited cases support this contention, and most of these rulings
 affirmatively refute it.

                                              3
